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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                               Chapter 7

             CUSHNIE, LLC,                                           Case No.: 21-41212-jmm

                                    Debtor.
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             ORDER RETAINING RK CONSULTANTS LLC AS ACCOUNTANTS
             TO THE CHAPTER 7 TRUSTEE, EFFECTIVE AS OF JUNE 26, 2023

        UPON the application [Dkt. No. 40] (the “Application”) of David J. Doyaga, Sr., Chapter

7 Trustee (the “Trustee”) of the estate of Cushnie, LLC (the “Debtor”), to retain RK Consultants

LLC as accountants to the Trustee, effective as of June 26, 2023, and upon the Declaration of Brian

Ryniker, in support of the Trustee’s Application (the “Ryniker Declaration”), and it appearing that

RK Consultants LLC does not hold or represent an interest adverse to the Debtor’s estate and is a

“disinterested person” as that term is used in section 101(14) of Title 11 of the United States Code;

and the Court having determined that the employment of RK Consultants LLC by the Trustee is

necessary and will be in the best interests of the Debtor’s estate and creditors; and after due

deliberation and sufficient cause appearing therefor; it is hereby

        ORDERED, that the Application is granted to the extent provided herein; and it is further

        ORDERED, that under 11 U.S.C. § 327(a) and Bankruptcy Rule 2014, the Trustee is

authorized to retain RK Consultants LLC as accountants to the Trustee, effective as of June 26,

2023, on the terms and conditions set forth in the Application and the Ryniker Declaration; and it

is further

        ORDERED, that to the extent the Application or the Ryniker Declaration is inconsistent

with this Order, the terms of this Order shall govern; and it is further

        ORDERED, that RK Consultants LLC shall seek compensation for all fees and
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reimbursement of expenses upon proper application, upon notice and hearing as is required under

sections 330 and 331 of the Bankruptcy Code, Bankruptcy Rule 2014, E.D.N.Y. LBR 2014-1 and

the Guidelines of the Office of the United States Trustee; and it is further

        ORDERED, that RK Consultants LLC shall keep reasonably detailed time records in

accordance with the Guidelines of the Office of the United States Trustee and will submit, with

any interim or final fee application, together with the time records, a narrative summary, by project

category, of services rendered and will identify each professional rendering services, the category

of services rendered and the amount of compensation requested; and it is further

        ORDERED, that ten (10) business days prior to any increases in RK Consultants LLC’s

billing rates for any individual employed by RK Consultants LLC and retained by the Trustee

pursuant to Court Order, RK Consultants LLC shall file a supplemental affidavit/declaration with

the Court setting forth the basis for the requested rate increase pursuant to 11 U.S.C. § 330(a)(3)(F).

Parties in interest, including the Office of the United States Trustee, retain all rights to object to or

otherwise respond to any rate increase on any and all grounds, including, but not limited to the

reasonableness standard under 11 U.S.C. § 330. Supplemental affidavits/declarations are not

required for rate increases effective on or after the date the Trustee submits the Trustee’s Final

Report to the United States Trustee; and it is further




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       ORDERED, that the Court may retain jurisdiction to hear and to determine all matters

arising from or related to the implementation of this Order.

NO OBJECTION:
WILLIAM K HARRINGTON
UNITED STATES TRUSTEE, REGION 2

By:/s/ Jeremy S. Sussman, Esq._
Jeremy S. Sussman
Trial Attorney
Office of the United States Trustee
201 Varick Street, Suite 1006
New York, New York 10014

Dated: June 27, 2023
       New York, New York




 Dated: July 5, 2023                                            ____________________________
        Brooklyn, New York                                             Jil Mazer-Marino
                                                                 United States Bankruptcy Judge
